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  9              THE UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10
 11   CHANTELL PEREZ, an individual          )   Case No. 2:20-cv-03199-CBM-SKx
      and on behalf of all those similarly   )
 12   situated; BEATRICE LOPEZ, an           )   JUDGMENT IN FAVOR OF
 13   individual; and MARLENE                )   PLAINTIFF RIO MADISON
      CARBAJAL, an individual.               )   SANCHEZ [51] [NO JS6]
 14                                          )
 15                      Plaintiff,          )
              vs.                            )
 16                                          )
 17   DISCOVER ENTERTAINMENT,                )
      INC., a California Corporation;        )
 18   LONG KIM HUOT, an individual;          )
 19   TAWNY HUOT, an individual;             )
      ANDY SO, an individual; DOE            )
 20   MANAGERS 1-3; and DOES 4-              )
 21   100, inclusive,                        )
                                             )
 22                     Defendants.          )
 23                                          )
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                    JUDGMENT IN FAVOR OF PLAINTIFF RIO MADISON SANCHEZ
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  1         On September 24, 2021, defendants Kopper Kitty, Inc. dba Synn’s
  2   Gentlemen’s Club, Figueroa Group, Inc. dba Rio’s Gentlemen’s Club, Long Kim
  3   Huot, and Ronald Lee McKinney, Jr.’s (collectively, “Defendants”) served
  4   plaintiff Mercedes Garcia (“Plaintiff”) with a Fed. R. Civ. P. 68 Offer of
  5   Judgment in this action in the amount of ONE HUNDRED FIFTY THOUSAND
  6   U.S. DOLLARS ($150,000.00), inclusive of costs and attorneys’ fees. On
  7   September 27, 2021, Plaintiff accepted the offer. See Dkt. 50.
  8         In accordance with the Offer of Judgment and Notice of Acceptance,
  9   Plaintiff shall have and recover from Defendants, jointly and severally, the total
 10   sum of ONE HUNDRED FIFTY THOUSAND U.S. DOLLARS ($150,000.00),
 11   inclusive of costs and attorneys’ fees.
 12         Accordingly, it is ORDERED AND ADJUDGED that a Final Judgment is
 13   entered for Plaintiff and against Defendants for the total sum ONE HUNDRED
 14   FIFTY THOUSAND U.S. DOLLARS ($150,000.00), inclusive of costs and
 15   attorneys’ fees, with interest at the legal rate per annum from the date of the entry
 16   of this Judgment. Each party shall bear their own costs and fees.
 17         IT IS SO ORDERED.
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 20    Dated: OCTOBER 13, 2021
                                                HONORABLE CONSUELO B. MARSHALL
 21                                               UNITED STATES DISTRICT JUDGE
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                    JUDGMENT IN FAVOR OF PLAINTIFF RIO MADISON SANCHEZ
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